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                                                                          4                         UNITED STATES DISTRICT COURT
                                                                          5                       NORTHERN DISTRICT OF CALIFORNIA
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                                                                          8   IN RE: CATHODE RAY TUBE (CRT)      )         Master File
                                                                                                                 )         No. CV-07-5944 SC
                                                                          9   ANTITRUST LITIGATION               )
                                                                                                                 )         MDL No. 1917
                                                                         10                                      )
                                                                              This document relates to:          )         ORDER DENYING
                               For the Northern District of California




                                                                         11                                      )         DEFENDANTS'
United States District Court




                                                                              ALL ACTIONS                        )         ADMINISTRATIVE MOTION
                                                                         12   ___________________________________)         TO FILE CONFIDENTIAL
                                                                                                                           DOCUMENTS UNDER SEAL
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                                                                                   Defendants Panasonic Corporation of North America, Panasonic
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                                                                              Corporation, and MT Picture Display Co., Ltd. ("Defendants")
                                                                         16
                                                                              brought an Administrative Motion pursuant to Civil Local Rule 79-
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                                                                              5(d) and the Stipulated Protective Order of June 18, 2008, seeking
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                                                                              to file certain documents under seal.        ECF No. 880 ("Mot.").
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                                                                              Specifically, Defendants request permission to file under seal
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                                                                              Defendants' Motion for Sanctions Pursuant to Rule 11, the
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                                                                              Declaration of Jeffrey Kessler in Support of Defendants' Motion
                                                                         22
                                                                              for Sanctions Pursuant to Rule 11, and Exhibits A through Q
                                                                         23
                                                                              attached thereto.    Id.   Defendants contend that these documents
                                                                         24
                                                                              should be filed under seal because they contain information
                                                                         25   designated as confidential by Defendant Chungwa Picture Tubes,
                                                                         26   Ltd. ("Chungwa").    Id. at 2.
                                                                         27        Civil Local Rule 79-5(d) provides that a party who wishes to
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                                                                               file a document that has been designated confidential by another
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                                                                               party pursuant to a protective order, or who wishes to refer in a
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                                                                               memorandum or other filing to information so designated by another
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                                                                               party, must file an administrative motion for a sealing order with
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                                                                               the Court and lodge the document, memorandum, or other filing with
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                                                                               the Court.    If only a portion of the document, memorandum, or
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                                                                               other filing is sealable, the submitting party must also lodge
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                                                                               with the Court a redacted version to be placed in the public
                                                                          9
                                                                               record if the Court approves the requested sealing order.         Id.
                                                                         10
                                                                               The designating party -- in this case Chungwa -- then has seven
                               For the Northern District of California




                                                                         11
United States District Court




                                                                               days to preserve the information's confidentiality by filing and
                                                                         12    serving a "declaration establishing that the designated
                                                                         13    information is sealable" and "a narrowly tailored proposed sealing
                                                                         14    order."    Id.    "If the designating party does not file its
                                                                         15    responsive declaration as required by this subsection, the
                                                                         16    document or proposed filing will be made part of the public
                                                                         17    record."    Id.
                                                                         18            Here, Defendants have not lodged with the Court the Motion
                                                                         19    and supporting declaration they wish to file under seal,1 and
                                                                         20    Chungwa has not filed the required declaration and narrowly
                                                                         21    tailored proposed sealing order.       Defendants' Administrative
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                                                                                     Defendants state that the Motion and supporting declaration
                                                                         24   should be filed under seal because they "contain information"
                                                                              designated confidential by Chungwa. Mot. at 2. This language
                                                                         25   suggests that only select portions of the documents Defendants seek
                                                                              to file are sealable. If this is true, then Defendants should
                                                                         26   lodge with the Court a redacted version of the documents to be
                                                                              placed in the public record in accordance with Civil Local Rule 79-
                                                                         27   5(d).
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                                                                              Motion to file documents under seal is therefore DENIED.          The
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                                                                              Court will STAY this Order for fifteen days so that the parties
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                                                                              may take appropriate measures to comply with the Civil Local
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                                                                              Rules.
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                                                                                   IT IS SO ORDERED.
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                                                                                   Dated: March 31, 2011
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                               For the Northern District of California




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United States District Court




                                                                                                                        UNITED STATES DISTRICT JUDGE
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                                                                                  Dated: March ___, 2009
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                                                                                                                       UNITED STATES DISTRICT JUDGE
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                               For the Northern District of California




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United States District Court




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